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From:                          Michael Zimmerman[mzimmerman@platformlifesciences.com]
Subject:                       Platform Life Sciences Board Meeting
Importance:                    Normal
Start Time:                    Wed 11/23/2022 10:00:00 PM (UTC)
End Time:                      Wed 11/23/2022 10:45:00 PM (UTC)
Required Attendees:            Ed Mills; Zeev Pearl; Amir Sadeh; Ross Rheingans-Yoo
Attachment:                    PLS - Notice of Board Meeting - 18NOV2022.docx




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Microsoft Teams meeting
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Meeting options


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From:                   Michael Zimmerman[mzimmerman@platformlifesciences.com]
Sent:                   Fri 11/18/2022 5:51:24 PM (UTC)
To:                     Ed Mills[emills@platformlifesciences.com]; Ross Rheingans-
                        Yoo[ross@ftxfoundation.com]
Cc:                     Zeev Pearl[ZPearl@PearlCohen.com]; Amir Sadeh[ASadeh@PearlCohen.com];
                        Oz Halabi[OHalabi@PearlCohen.com]
Subject:                Platform Life Sciences Board Meeting
Attachment:             PLS - Notice of Board Meeting - 18NOV2022.docx

 To: PLS board members

 We are calling for a board meeting, next week Wednesday Nov-23rd, 2:00pm PST
 Meeting notice and agenda is attached.
 Kindly confirm, or let me know if a different time on the Nov-23rd will work for you.

 Thanks,
 Michael Z




 From: mzimmerman@platformlifesciences.com
 When: 2:00 PM - 2:45 PM November 23, 2022
 Subject: Platform Life Sciences Board Meeting




 ________________________________________________________________________________

 Microsoft Teams meeting
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 Click here to join the meeting
 Meeting ID: 250 462 942 385
 Passcode: PRH6xN
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From:                          Michael Zimmerman[mzimmerman@platformlifesciences.com]
Subject:                       Board Meeting Invite
Importance:                    Normal
Start Time:                    Thur 12/8/2022 7:00:00 PM (UTC)
End Time:                      Thur 12/8/2022 8:00:00 PM (UTC)
Required Attendees:            Ed Mills; Mark Dybul; Ross Rheingans-Yoo; Amir Sadeh; Zeev Pearl

Agenda will be sent soon. Please reserve the time, and if it doesn’t work let me know asap


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Microsoft Teams meeting
Join on your computer, mobile app or room device
Meeting options


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Document title: (1) Inna Kataev Roitman | LinkedIn
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Document title: (1) Inna Kataev Roitman | LinkedIn
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Document title: (1) Amy Ghelardi, MBA | LinkedIn
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Document title: (1) Lauren Panco | LinkedIn
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Capture timestamp (UTC): Fri, 22 Sep 2023 19:03:31 GMT                                                         Page 3 of 3
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                                                                 S. HRG. 118–53

                  PEPFAR AT 20: ACHIEVING AND
                  SUSTAINING EPIDEMIC CONTROL


                              HEARING
                                   BEFORE THE



    COMMITTEE ON FOREIGN RELATIONS
         UNITED STATES SENATE
              ONE HUNDRED EIGHTEENTH CONGRESS

                                 FIRST SESSION



                                 APRIL 19, 2023



             Printed for the use of the Committee on Foreign Relations




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     52–968 PDF                 WASHINGTON : 2023
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  was privileged to join him in February, Eastern Europe, and across
  the United States.
     He has spoken several times at the United Nations here in the
  Senate using his platform to advocate for people living with or at
  risk of HIV.
     In 2022, Sir Elton was awarded the Humanitarian Medal by
  President Biden at the White House. In 1998, he was knighted by
  Queen Elizabeth II for his charitable achievements. We welcome
  him.
     Joining him on the panel here in Washington is Dr. Mark Dybul,
  a professor at Georgetown University Medical Center, where he
  serves as chief strategy officer at the Center for Global Health
  Practice and Impact, executive chair of Platform Life Sciences, and
  CEO of Enochian Biosciences.
     Dr. Dybul has worked on HIV and public health for more than
  25 years as a clinician, scientist, teacher, and administrator.
     Dr. Dybul was appointed by President Bush as the second U.S.
  Global AIDS Coordinator in 2006, served in that capacity until
  2009, has served as executive director of the Global Fund to Fight
  AIDS, Tuberculosis, and Malaria from 2013 to 2017.
     Welcome to both of our witnesses and I would ask Sir Elton to
  please proceed with your testimony.
    STATEMENT OF SIR ELTON JOHN, FOUNDER, ELTON JOHN
        AIDS FOUNDATION, LONDON, UNITED KINGDOM
     Sir ELTON. Good morning, Chairman Menendez, Ranking Mem-
  ber Risch, and distinguished members of the committee. I am de-
  lighted to join you today to wholeheartedly support your commit-
  ment to extending the lifesaving work of the landmark PEPFAR
  program.
     I was humbled to have been part of your recent bipartisan fact-
  finding mission to South Africa to experience the awe-inspiring im-
  pact this program is having on the ground. It was an inspirational
  visit that shows the immense gratitude of the African people.
     I want to begin by thanking you for your continued focus on the
  global fight against AIDS. We are living in deeply troubled times
  with countless global challenges, all of which I know beckon your
  time and attention.
     Beyond that, I am boundlessly grateful for the bipartisan co-
  operation that has been the hallmark of PEPFAR for two decades
  now. While this effort was initially conceived by President Bush, it
  has been enthusiastically supported by four presidents and 10 Con-
  gresses and consistently championed by the generosity of the Amer-
  ican people.
     As I testified to the Senate 21 years ago this week, what America
  does for itself has made it strong, but what America does for others
  has made it great. Bravo, my friends. There is no better symbol of
  American greatness than PEPFAR and you should all be very
  proud of your extraordinary efforts.
     Before PEPFAR, much of Africa was in freefall. Infant child mor-
  tality was skyrocketing, life expectancy plummeting, and decades of
  development progress being rolled back.
     Families across the continent were walking miles to bring their
  loved ones to hospitals in wheelbarrows where they were piled up
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From:                      Ed Mills[emills@platformlifesciences.com]
Sent:                      Fri 5/13/2022 6:31:21 PM (UTC)
To:                        Ross Rheingans-Yoo[ross@ftxfoundation.com]
Subject:                   A few updates

Hi Ross
 I hope you are well. I wanted to give you a few updates that are timely.
The first is that we will be accepting the award for Trial of the Year in San Diego on Monday. Gilmar will be the
main person but I will join him for it. We would like to make an announcement about the Latona/FTX partnership
and I’m wondering which you prefer us to refer to?

 The second is that the rates of COVID are skyrocketing in Brazil and South Africa right now, probably everywhere.
We are therefore eager to get new interventions into the trial while there are patients available.
Tom Pacek’s (Oxygen) idea for a trial is extremely compelling. If its okay with you, I would like to engage with
him further about getting that into the trial and at the discounted rate? We believe we could get going on this very
quickly.

Finally, I wanted to let you know about a company named Lumen, from Seattle. They have an intervention that is an
antibody that they will put in our trial, likely for long COVID. But they also have an idea about an intranasal
interferon lambda. I thought this may be something you want to talk to them about as I believe they can scale very
quickly based on the tools they have developed. It likely would not take a phase 3 trial to accomplish this. If Eiger
gets the EUA, then Lumen would just need to demonstrate similar bioavailability. Shall I connect you?
 Best wishes
 Ed
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0123413ÿ6748249ÿ 31 42 ÿ3ÿÿÿ24ÿ4 ÿ2 3ÿ48ÿ ÿ3ÿ 71 ÿÿÿ87249
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  34ÿ ÿ*721!ÿ ÿ7ÿ742$32ÿ14ÿ3132$3ÿ2

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    2124 <
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Case 23-50444-JTD              Doc 42-2         Filed 09/29/23         Page 75 of 177
     0123456ÿ892 ÿ9 ÿ4ÿ293ÿ4ÿ915ÿ31ÿ8 ÿ3ÿÿ4 53 ÿ8  ÿ3
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4 416ÿ9ÿ% 9 ÿ8 11ÿ93 ÿ29C3ÿC414%13!ÿ:92ÿ92ÿ39 5ÿ411<ÿ8ÿ14 35ÿ9 ÿD16
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I)*ÿ30OOÿ56P.ÿ,462(ÿ-./010*219
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I)6(ÿ/62ÿ6ÿR61(ÿS462(ÿT.ÿ+1.-ÿU*49
@3ÿ23V23ÿ4ÿ4ÿ:4ÿM24 ÿ%3ÿ35ÿ91316ÿ9ÿ3353ÿ231435ÿ3 3!ÿW369 5ÿ4<
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     543ÿ4 ÿ%3ÿ4ÿ13ÿ4ÿ4ÿ 13424 24ÿ341!
     _9ÿÿ1945ÿ411ÿ4 2ÿ2392 ÿ892ÿ9235ÿ%6ÿ3ÿ24 ÿ9ÿ4ÿ232 
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I)*ÿ6-50201(.41ÿR61(ÿS462(19
Case 23-50444-JTD                  Doc 42-2           Filed 09/29/23            Page 76 of 177
0123ÿ561732ÿ82ÿ1ÿ9163ÿ ÿ 673ÿ7362ÿ1ÿ963ÿ13ÿ3ÿ6132ÿ736ÿ13ÿ5 6ÿ127
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17716ÿK2ÿ6 732LÿMNOPQORÿTÿUVVWÿXYZ[ÿ\]^_`ÿaVbOVUÿPQVÿca]dV\PeÿfQVÿRVgPÿ̀ThÿPQVÿ̀OaV\P]a
\]^_`ÿT^PQ]aOiVjÿPQVÿk^lORVllÿ]mn\Vÿ\]^_`ÿlVR`ÿ]^PÿTÿ_VPPVaÿ]mÿORPVRPjÿTR`ÿPQVÿT\P^T_ÿU]aWÿ\]^_`ÿlPTaPeo
0123ÿ561732ÿ16ÿ17ÿ 63ÿ3ÿ7@Jÿ96622ÿ13ÿ1ÿ1C7ÿ28 8@16ÿ3ÿ313ÿ08ÿ26Cÿ2ÿ0@@
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1ÿA7ÿ 1CÿG 3ÿ1@@ÿ6898732ÿ16ÿ6673@ÿ@823C

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3ÿ 8Cx4yÿ917C 8                                     22938A8@83ÿ3ÿpHx xÿ87387
                                                           87ÿ6Eÿ 17ÿ@7ÿ617 8C2

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3ÿ96Cÿ1ÿpHx xÿ187                              187ÿ29881@@ÿ3163Cÿ3ÿ3
                                                           6936xA87C87ÿC 187ÿ ÿ3ÿ861@ÿ
                                                           96387ÿ287ÿ96382ÿ187CÿC687
                                                           222@ÿC@9 73ÿ ÿ1738x 1@1681
                                                           17Cÿ1738x8J771ÿ1872

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E817 2382ÿ3ÿC@9ÿ1ÿ9 873ÿ ÿ16                        12222ÿ3ÿA73ÿ ÿ x@1A@ÿC6ÿ2
26@81@ÿ323ÿ 6ÿ6198CÿI17381387                       87ÿ6C6ÿ3ÿ@9ÿ96868388ÿ17Cÿ8C
  ÿ1738A Cÿ3836ÿ3ÿ 7836ÿC8212                          2A2I73ÿ617C 88Cÿ@8781@ÿ3681@2
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                                          01234ÿ16ÿ7849 69ÿ84238
                                          87618 94

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81ÿ2198 416ÿ10ÿ99:2 628ÿ868              82269ÿ1ÿ=96989ÿ71<ÿ<318
1;94ÿ01ÿ82269ÿ86;ÿ<989932              M949928 >ÿ949 81>ÿ32148Nÿ86;
;991996ÿ86;ÿ<9ÿ7842ÿ3611=>           29 38ÿ82O3 9;ÿ369ÿ94916494
86;ÿ 39629ÿ;99 6864ÿ36;9 >6=           8=864ÿPQRP:F1H:STÿ7849;ÿ16ÿ8
<14:98<1=96ÿ6982164                   9217686ÿ9416ÿ10ÿ86ÿ896389;
                                          616<386ÿ91U 34ÿ28 9;ÿ>U18
                                              34ÿ<8ÿ<84ÿ7996ÿ96=6999;ÿ1ÿ21:
                                          9U9944ÿ<9ÿ013 ÿPQRP:F1H:Sÿ91964
                                          MPTÿVTÿWÿ86;ÿXNÿ699;9;ÿ1ÿ91;329
                                          49299;ÿ616:6092134ÿ 34:Y9
                                          98294ÿ<8ÿ86=9628 >ÿ  2ÿ<9
                                          21999ÿPQRPÿF1H:Sÿ 34

ÿZZ[ÿ@?BB                        ÿ^ÿBZ_`
/'&5'ÿ\)53"1ÿ/+#")-                       %&'()*#'"+ÿ2!ÿ2*2&"2ÿ5&7ÿ1)ÿ\2#a'"53ÿ!2*
E1ÿ94ÿ]<9<9ÿ9U446=ÿ86 84            /'0bÿ,1'37*)&
286ÿ79ÿ349;ÿ1ÿ2161ÿ13798Y4ÿ10          81ÿ<=<:< 13=<93ÿ429966=ÿ10
FGHIJ:KLÿ6ÿ63 46=ÿ<194                   993 9149;ÿ8JQ:8991 9;ÿ; 3=4ÿ01
                                          <9 ÿ90c282>ÿ1ÿ99 96ÿPQRP:F1HS
                                          96>ÿ7>ÿ1;0>6=ÿ96;1418ÿ9dÿ86;
                                          946=ÿ6ÿ992 628ÿ<849ÿ86;ÿ09 9
                                          1;94ÿ10ÿF1 ;:KLÿ6ÿ21 871816
                                          ] <ÿ<9ÿe1f8Yÿ86;ÿ88f8861ÿ874

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62 &"ÿ/'&5'ÿ6)7'053ÿ,)&")*                6065#")*ÿ%&'()*#'"+
E1ÿ2199<964 9>ÿ2<8829 f9ÿ<9            E1ÿ438 f9ÿ89;>ÿ99=6=ÿ2 628
 3611=28ÿ9491649ÿ1ÿPQRP:F1H:S           94982<ÿ9 ;9629ÿ86;ÿ=96989
86;ÿ;960>ÿ<9ÿ08214ÿ<8ÿ2161ÿ<9      21988 9ÿ90c282>ÿ86;ÿ4809>ÿ91c94
499 >ÿ10ÿFGHIJ:KLÿ;49849ÿ7849;ÿ16ÿ8      01ÿ286;;89ÿ69 96164
2199<964 9ÿ86;ÿ16=3;68ÿFGHIJ:
KLÿg1g86Yÿ10ÿW136ÿP68h4ÿ9>ÿ8=9
FGHIJ:KLÿ9896ÿ9193816

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E1ÿ;9919ÿ9217686ÿ49291>                E1ÿ94ÿ219136;4ÿY61]6ÿ1ÿ82 89
 361=173 6ÿQÿ8671;94ÿ1ÿ<9            <9ÿ1U;8 9ÿ4944ÿ9491649ÿ98<]8>4
PQRPÿF1H:Sÿ 34ÿ86;ÿ349ÿ<9ÿ1            01ÿ<9 ÿ91968ÿ84ÿ6<714ÿ10ÿPQRP:
91 ;9ÿ9844 9ÿ919216ÿ8=864              F1H:S
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%,ÿr)*b)3)+                               u57v2 7ÿ%&'()*#'"+ÿ6)7'053ÿ,)&")*
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012342ÿ678ÿ299 ÿ2 
ÿ3 ÿ234ÿ 3
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        EXHIBIT 53
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From:                    can@ftx.com[can@ftx.com]
Sent:                    Mon 3/28/2022 9:55:58 PM (UTC)
To:                      'Ross Rheingans-Yoo'[ross@ftxfoundation.com]
Cc:                      'Ashley Sturrup'[a.sturrup@ftxdigitalmarkets.com]
Subject:                 RE: Alameda Ventures Ltd and Platform Life Sciences Term Sheet
Attachment:              Revised Term Sheet.docx
Attachment:              Litera Compare Redline - Alameda Ventures Ltd. and Platform Life Sciences
                         Term Sheet (2) and Revised Term Sheet.pdf

 Hey Ross,

 Here’s a revised version for your review reflecting the points below. Let me know if you have any
 questions.

 Best,
 Can



 From: Ross Rheingans-Yoo <ross@ftxfoundation.com>
 Sent: Saturday, March 26, 2022 12:55 AM
 To: Ashley Sturrup <a.sturrup@ftxdigitalmarkets.com>
 Cc: Can Sun <can@ftx.com>
 Subject: Re: Alameda Ventures Ltd and Platform Life Sciences Term Sheet

 Hi Ashley, Can,

 Thanks for the fast turnaround! Can we make the following changes?

 Investors (and throughout) -- I think we're likely investing from Latona Bioscience Ltd, a Bahamas non-
 profit. (External counsel was working on incorporating the Latona entity back in February; I just asked
 for an update on the status of that, and whether we could finish the process if not completed.)
 Liquidation Pref. -- to a 0x / no preference / common equity
 Commercial Collaboration (1) -- change this to clarify that it's guaranteed preferred pricing on clinical
 trial services relating to pharmaceutical products sponsored by...
 Commercial Collaboration (2) -- Add some language here that's a cleaned-up version of: "Latona and
 its affiliates will use such sponsorship to further Latona's objectives for the advancement of global
 health access and pandemic preparedness. Such sponsorships may include trials relating to products
 in which Latona or its affiliates have an existing or future commercial interest."
 Legal -- if you're okay with it, I think it'll be our legal drafting docs. you're going to be better at it than
 whoever they hire :)
 + -- do we want to require that they incorporate in Delaware?


 Thanks,
 Ross
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On Fri, Mar 25, 2022 at 5:19 PM Ashley Sturrup <a.sturrup@ftxdigitalmarkets.com> wrote:
 Dear Ross,

Please find Alameda Ventures Ltd and Platform Life Sciences Term Sheet attached.

Kind regards,

Ashley
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             Series A PreferredCommon Stock Financing Summary of Terms

The following is a summary of the principal terms (“Summary of Terms”) with respect to the
proposed Series A Preferred Stock financing of Platform Life Sciences (“the Company” (as
defined below).:

Closing        Within 30 days of signing this proposal (the “Closing”).
Company        Platform Life Sciences (“Company”), a to-be-incorporated company in a
jurisdiction mutually agreeable to the Company and the Investor.

Securities    Shares of Series A Preferred Stockcommon stock of the Company (“Series A”
or “PreferredCommon Stock”).

Aggregate ProceedsInvestment        $35M investment from Latona Bioscience Ltd, a
Bahamian nonprofit entity (“Investor”), to be closed within 30 days of signing this term sheet.

Investors       Alameda Ventures Ltd., a Seychelles corporation (“Alameda”). Alameda will
invest $35 million USD.
Use of Proceeds         In connection with the Investment, the Company shall collaborate with
the Investor and its affiliates to further the Investor’s objectives of advancing global health
access and pandemic preparedness. Without limiting the foregoing, the Company may use the
proceeds to conduct clinical trials relating to products in which the Investor or its affiliates have
an existing or future commercial interest.

Valuation      Series A price per share to be calculated based on a post moneyPost-money
valuation of $100 million on a fully-diluted basis, which will includeincluding (i) the
conversion of all outstanding convertible instruments and (ii) an immediate post-closing
available option pool of 15% of fully diluted shares.

Board AlamedaInvestor shall have the right to appoint one member to the Company’s board
of directors of the Company (the “Board”).

Loan AlamedaInvestor agrees to lend the Company the sum of $15 million USD with interest
thereon at a rate of 2.0% per annum over a 5-year term.

Liquidation Pref.      Standard 1x liquidation preference with no participation. Other terms
also standard.
Conversion Upon approval of a majority of Preferred, voting as a class, and automatically
for IPO with a net proceeds of at least $50 million.
Commercial Collaboration AlamedaInvestor and its affiliates will receive guaranteed
preferred pricing on clinical trial services relating to all pharmaceutical products sponsored by
Alameda or suchInvestor or its affiliate (as reasonably determined by Investor), at cost plus
20%.

Reps and Warranties. Standard reps and warranties, including customary IP representations.
Closing Conditions Successful completion of due diligence and final documents, including
a customary opinion of counsel to the Company.
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Legal CompanyInvestor counsel to draft documents. All documents and agreements
contemplated herein shall be governed by laws of the place of incorporation of the Company.
Each Party to bear its legal and diligence expenses.

Other Rights Customary rights of a venture capital financing of this type, including voting,
registration, information, preemptive/ROFO, ROFR, drag, and co sale, dividends. Standard
broad based weighted average anti dilution.Investor shall be entitled to all other rights,
preferences and privileges enjoyed by holders of Common Stock of the Company.

Confidentiality        This proposal and any related discussions and correspondence may not
be disclosed by the Parties to any party (other than to legal counsel and the accountants of the
Party in order for such persons to render advice in connection with the proposed transaction,
and other than to existing stockholders of the Company) without the prior written approval of
AlamedaInvestor, other than as required by law or by a finally binding order of a competent
court or authority.

No-Shop       The Parties agree that, until the 30th day from the date on which this Summary
of Terms is signed by the Parties, the Company will not discuss, negotiate or execute any
agreement related to the issuance of capital stock, debt, SAFEs, or other instruments by the
Company (whether in a financing or an acquisition transaction) other than the agreement
contemplated herein.

Binding Terms          Except for the provisions labeled “No-Shop” and “Confidentiality”,
which are explicitly agreed to be legally binding agreements among the parties hereto, this
Summary of Terms is not intended to create any legally binding obligation on either party,
and no such obligation shall be created unless and until the Investors have completed
satisfactory due diligence and the parties have entered into definitive written agreements
evidencing such agreement as described above.


The parties to this term sheet acknowledge their agreement to the terms contained herein.




   Platform Life Sciences                                    Alameda VenturesLatona
Bioscience Ltd.


Date:                 March, 2022
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Style name: Default Style
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Original filename: Alameda Ventures Ltd. and Platform Life Sciences Term
Sheet (2).docx
Modified filename: Revised Term Sheet.docx
Changes:
Add                                                          23
Delete                                                       26
Move From                                                    0
Move To                                                      0
Table Insert                                                 0
Table Delete                                                 0
Table moves to                                               0
Table moves from                                             0
Embedded Graphics (Visio, ChemDraw, Images etc.)             0
Embedded Excel                                               0
Format changes                                               0
Total Changes:                                               49
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From:                  Ross Rheingans-Yoo[ross@ftxfoundation.com]
Sent:                  Mon 4/4/2022 8:31:48 PM (UTC)
To:                    Ed Mills[emills@platformlifesciences.com]
Subject:               Re: Delaware Inc

Great, good to hear it. I'll check on further steps from our side.

On Mon, Apr 4, 2022, 15:37 Ed Mills <emills@platformlifesciences.com> wrote:

  Hi Ross
   I hope you had a great weekend.
   We have now incorporated in Delaware and have all of the necessary registrations. Could
  you advise on how to proceed?
   I just had a great conversation with Ajay about moving forward together and he will follow
  up with you on that.
   Best wishes
   Ed
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                                                  SERVICES AGREEMENT

            This Services Agreement (the “Agreement”) is entered into as of June 7, 2022 (the “Effective Date”),
            by and between Latona Biosciences Group, whose address is located at P.O. Box N-7525, Nassau, The
            Bahamas (“Latona”) and Platform Life Sciences Inc., a company incorporated under the laws of
            British Columbia, whose offices are located at 506-1505 W 2nd Ave., Vancouver, BC V6H 3Y4, Canada
            (the “Service Provider”). Each of Latona and Service Provider shall be referred to herein as a “Party”
            and together, the “Parties”.

                                                             RECITALS:

            WHEREAS          the Service Provider is engaged in the business of harnessing advanced methodologies
                             in clinical trial design and implementation in order to improve efficiencies in healthcare;
                             and

            WHEREAS          Latona is part of the FTX group and its philanthropic arm – The FTX Foundation; and

            WHEREAS          Latona is interested to designate third parties and pay for the Services (as defined below)
                             which Service Provider will render to the third parties designated by Latona (“Latona
                             Third Party Designee”); and

            WHEREAS          the Parties wish to set out in writing the terms and conditions upon which the Services
                             shall be rendered by the Service Provider to Latona Third Party Designees;

            THEREFORE, the Parties hereby agree as follows:

            1.       Services; Scope of Work
                     1.1.    Service Provider shall provide each Latona Third Party Designee with the services to
                             be more fully described in the Statements of Work to be issued hereunder, in the form
                             attached hereto as Exhibit A (the “Services”). Each Statement of Work shall be
                             completed by the Parties upon commencement of each project with a Third Party
                             Designee.
                     1.1.    The Services to be provided hereunder shall be performed solely and exclusively by the
                             Service Provider and its employees and sub-contractors, unless otherwise agreed in
                             writing between the Parties.
                     1.2.    Service Provider shall coordinate the Services to each Latona Third Party Designee
                             ahead of each designation and shall update Latona periodically with regard to the
                             progress of the Services so rendered. Notwithstanding the foregoing, the Parties hereby
                             agree that as an independent contractor, Service Provider shall have independent
                             discretion to direct the means and manner of the performance of the Services and
                             achieving the desired results thereof.
            2.       Representations and Warranties
                     2.1.    Each of the Parties hereby represents and warrants that (i) it has the full power, authority
                             and legal right to enter into and perform its obligations under this Agreement; (ii) this
                             Agreement is a legal, valid and binding obligation of such Party, enforceable against
                             such Party in accordance with the terms hereof; and (iii) this Agreement will not result
                             in a violation of or default under any agreement or obligation to which such Party is a
                             party.
                     2.2.    Service Provider represents and warrants that it has the requisite knowledge, skills and
                             experience in order to provide the Services. Service Provider undertakes to perform the
                             Services under this Agreement with the highest degree of professionalism.
                     2.3.    Service Provider shall not make any representations or give any guarantees to Latona
                             Third Party Designees on behalf of Latona.
            3.     Service Fees
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                     3.1.    Latona will pay Service Provider an advance payment in an amount of Fifteen Million
                             US Dollars (US $15,000,000), payable in a single installment within seven (7) days
                             from the Effective Date. The advance payment is paid against the fees Latona should
                             have paid for the Services rendered to Latona Third Party Designees. Latona hereby
                             acknowledges that Service Provider shall budget each such clinical trial on a Cost+20%
                             basis, until the advance payment is exhausted.
                     3.2.    All payments under this Agreement shall be made without deduction or withholding of
                             any kind, against the issuance by Service Provider of proper invoice(s) in accordance
                             with applicable law. All such payments are inclusive of value added tax, if required
                             under applicable law.
                     3.3.    All payments hereunder shall be made in US Dollars.
                     3.4.    Service Provider acknowledges and agrees that it is the sole responsibility of Service
                             Provider to report as income the fees received from Latona hereunder and to make the
                             requisite tax filings and payments to the applicable tax authorities.
                     3.5.    Service Provider hereby acknowledges and agrees that the aforesaid fees are the sole
                             and exclusive consideration to which Service Provider is entitled in exchange for the
                             Services hereunder.
            4.     Term and Termination.
                     4.1.    This Agreement shall commence on the Effective Date and shall continue to be in full
                             force and effect until conclusion of the Services or unless terminated earlier pursuant to
                             the provisions of this Section 4.
                     4.2.    Either Party may terminate this Agreement as follows:
                             (i)       at any time in the event of a material breach of this Agreement by the other
                                       Party, which breach remains uncured (if curable) upon the lapse of a fourteen
                                       (14) days’ period from the non-breaching Party’ written notice.
                             (ii)      immediately following written notice to the other Party, if the other Party (a)
                                       ceases to do business in the ordinary course, (b) becomes or is declared
                                       insolvent or bankrupt, (c) is the subject of any proceeding related to its
                                       liquidation or insolvency (whether voluntary or involuntary), or (d) makes a
                                       general assignment for the benefit of creditors.
                     4.3.    Upon termination of this Agreement for any reason whatsoever, each Party shall return
                             to the other Party any and all Confidential Information (as defined below) disclosed or
                             made available by the disclosing Party to the receiving Party. For the avoidance of any
                             doubt, termination of this Agreement for any reason shall not result in any refund of the
                             fees paid or payable to Service Provider prior to the effective date of termination.
                     4.4.    Sections 4.4, 4.5, 5, 6, 7, 8.6 and 8.7 of this Agreement shall survive the expiration or
                             early termination of this Agreement.
            5.       Confidentiality
                     5.1.    For the purposes of this Agreement “Confidential Information” shall mean any
                             information, in whatever form, disclosed to and/or otherwise acquired by and/or
                             developed by and/or made available by one Party (the “Disclosing Party”) to the other
                             Party (the “Receiving Party”) in the course of this Agreement and/or in connection
                             with the Services rendered hereunder, in any form or medium, which is or should be
                             reasonably understood to be confidential or proprietary to the Receiving Party,
                             including, but not limited to, the terms of this Agreement, information regarding
                             research and development related to actual or anticipated products, inventions, whether
                             patentable or non-patentable, discoveries, innovations, designs, drawings, sketches,
                             diagrams, formulas, computer files, computer programs, hardware, software or other
                             products, product definitions, product research, manuals, selection processes, data,
                             methods of manufacture, planning processes, trade secrets, business secrets, business
                             plans, copyrights, proprietary information, customer lists, names of clients, list of
                             suppliers, marketing plans, strategies, forecasts, business forecasts, processes, finances,
                             costing, sales, prices, terms of payment, formulae, know-how, improvements and

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                             techniques and any other data related to the business or affairs of the Disclosing Party,
                             its subsidiaries and affiliated companies, its licensors and business partners.
                     5.2.    Confidential Information shall not include information that (i) has become part of public
                             knowledge through no fault of the Receiving Party; (ii) was already in the Receiving
                             Party’s possession at the time of disclosure, as evidenced by the Receiving Party’s
                             written records dated prior to the disclosure; (iii) was independently developed by the
                             Receiving Party, without use of or reference to the Confidential Information of the
                             Disclosing Party, as evidenced by the Receiving Party’s written records; or (iv) is
                             rightfully received by the Receiving Party from a third party without a duty of
                             confidentiality.
                     5.3.    The Receiving Party hereby undertakes to hold the Confidential Information in strict
                             confidence and not to disclose the Confidential Information to any third party, without
                             the prior written consent of the Disclosing Party. The Receiving Party further
                             undertakes to use the Confidential Information only as reasonably necessary to carry
                             out the purposes of this Agreement and not to modify, translate, decompile, reverse
                             engineer or disassemble such Confidential Information.
                     5.4.    The Receiving Party agrees and undertakes to promptly return to the Disclosing Party
                             all documents and other written embodiments containing Confidential Information,
                             upon the Disclosing Party’s first written request (and in any event, upon expiration or
                             termination of this Agreement).
                     5.5.    The Receiving Party undertakes to treat all Confidential Information of the Disclosing
                             Party with at least the same degree of care as the Receiving Party accords to its own
                             confidential information, but in no event less than a reasonable degree of care.
                     5.6.    All Confidential Information remains the sole property of the Disclosing Party, and no
                             license or other rights in or to the Confidential Information is or shall be granted to the
                             Receiving Party hereby, other than the limited right to use such Confidential
                             Information in accordance with the terms hereof.
                     5.7.    The Receiving Party is aware that a breach of any of the obligations under this Section
                             5 (as well as under Section 6 below) may cause the Disclosing Party serious and
                             irreparable harm, for which no monetary compensation can be an appropriate remedy.
                             Therefore, the Receiving Party agrees that if such a breach occurs, the Disclosing Party
                             shall be entitled, without prejudice, to take all legal means necessary, including any
                             injunctive relief, to restrain any continuation or further breach of the aforesaid
                             provisions of this Agreement.
            6.       Intellectual Property
                     6.1.    The Parties hereby acknowledge and agree that any and all information, memoranda,
                             books, notes, records, charts, formula, specifications, presentations, lists, drafts, patent
                             applications and other documents, data, as well as any know how, inventions,
                             improvements, mask works, designs, discoveries or works, whether or not capable of
                             being patented or copyrighted, and any and all derivatives related thereto, which Service
                             Provider may conceive, make, develop, author, or work on, in whole or in part,
                             independently or jointly with others, in connection with the Services under this
                             Agreement (collectively, the “Services’ Results”), are and shall remain owned, solely
                             and exclusively, by Service Provider or in accordance with an agreement between
                             Service Provider and each Latona Third Party Designee.
                     6.2.    Latona hereby specifically acknowledges and agrees that while it may enjoy the benefits
                             and results of the Services hereunder, on a non-exclusive and/or indirect basis, the
                             Services’ Results do not and will not qualify as “works made for hire” under applicable
                             copyright laws, and that Service Provider shall continue to retain full ownership and
                             other rights in or to such Services’ Results. In view of the above, Latona further
                             acknowledges and agrees that no part of the Services’ Results is or shall be assigned to
                             Latona in any way, and hereby completely, irrevocably and forever waives any claim,
                             demand and/or cause of action in this respect.
            7.       Limitation of Liability

                                                                 3
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                     EXCEPT FOR LABIALITY ARISING OUT OF BREACH OF SECTIONS 5 AND/OR 6
                     ABOVE, NEITHER PARTY SHALL BE LIABLE TO THE OTHER PARTY FOR ANY
                     INCIDENTAL, INDIRECT, CONSEQUENTIAL, SPECIAL OR PUNITIVE DAMAGES OF
                     ANY KIND OR NATURE, INCLUDING WITHOUT LIMITATION LOST REVENUES OR
                     LOST PROFITS, WHETHER SUCH LIABILITY IS ASSERTED ON THE BASIS OF
                     CONTRACT (INCLUDING, WITHOUT LIMITATION, THE BREACH OF THIS
                     AGREEMENT OR ANY TERMINATION OF THIS AGREEMENT), TORT (INCLUDING
                     NEGLIGENCE OR STRICT LIABILITY), OR OTHERWISE, EVEN IF THE OTHER
                     PARTY HAS BEEN WARNED IN ADVANCE OF THE POSSIBILITY OF ANY SUCH
                     LOSS OR DAMAGE.
            8.     Miscellaneous
                     8.1.    Service Provider is an independent contractor of Latona. Nothing in this Agreement
                             shall be interpreted or construed as creating or establishing any partnership, joint
                             venture, employment relationship, franchise or agency or any other similar relationship
                             between the Parties.
                     8.2.    This Agreement contains and sets forth the entire agreement and understanding between
                             the Parties with respect to the subject matter contained herein, and such supersedes all
                             prior discussions, agreements, representations and understandings in this regard.
                     8.3.    This Agreement may be changed, amended or otherwise modified only by means or a
                             written instrument executed by both Parties.
                     8.4.    The terms of this Agreement may be waived only by a written document executed by
                             the Party entitled to the benefits of such terms. Each such waiver or consent shall be
                             effective only in the specific instance and for the purpose for which it was given, and
                             shall not constitute a continuing waiver or consent.
                     8.5.    No failure or delay by a Party hereto in exercising any right, power or remedy under
                             this Agreement, and no course of dealing between the Parties hereto, shall operate as a
                             waiver of any such right, power or remedy of the Party. No single or partial exercise
                             of any right, power or remedy under this Agreement by a Party hereto, nor any
                             abandonment or discontinuance of steps to enforce any such right, power or remedy,
                             shall preclude such Party from any other or further exercise thereof or the exercise of
                             any other right, power or remedy hereunder.
                     8.6.    Any notice required or permitted by this Agreement will be deemed sufficient when
                             delivered personally or by internationally recognized overnight courier or sent by email
                             to the relevant address listed above, or forty-eight (48) hours after being deposited in
                             the Canadian or U.S. mail as certified or registered mail with postage prepaid, addressed
                             to the Party to be notified at such Party’s address listed above, as such address may be
                             subsequently modified by written notice to the other Party.
                     8.7.    The Parties shall attempt to resolve any dispute, controversy or claim arising out of or
                             relating to this Agreement (each, a “Dispute”) by good faith negotiations and
                             consultation between or among themselves. In the event that such Dispute is not
                             resolved on an informal basis within ninety (90) calendar the parties will submit the
                             Dispute to mediation by a neutral mediator having at least ten (10) years’ experience.
                             The Parties covenant that they will use commercially reasonable efforts in participating
                             in the mediation. The Parties agree that the mediator’s fees and expenses and the costs
                             incidental to the mediation will be shared equally between the Parties. If the Parties
                             cannot resolve the Dispute within ninety (90) calendar days of the Mediation, the Parties
                             may (as their sole recourse) initiate confidential arbitration to resolve the Dispute
                             (“Arbitration”). Such Arbitration shall be: (i) held in New York, New York; (ii)
                             conducted by a single arbitrator applying New York law; (iii) administered by the
                             American Arbitration Association in accordance with its Commercial Arbitration
                             Rules. Judgment on the award rendered by the arbitrator may be entered in any court
                             having jurisdiction thereof.
                     8.8.    The captions and headings used in this Agreement are inserted for convenience only
                             and shall not affect the meaning or interpretation of this Agreement. This Agreement


                                                                4
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                             shall be construed fairly according to its terms, without regard to the drafter of any
                             provision hereof.
                     8.9.    This Agreement may be executed in counterparts, each of which shall be deemed an
                             original and all of which together shall constitute one and the same document. Delivery
                             of an executed signature page to this Agreement by facsimile shall be effective to the
                             same extent as if such Party had delivered a manually executed counterpart.

                                                   [Signature Page to Follow]




                                                               5
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            IN WITNESS WHEREOF, the duly authorized representatives of the Parties have executed this
            Agreement as of the last date set forth below.

            _______________________________                       __________________________
             Platform Life Sceinces Inc.                           Latona Biosciences Group

             By: Edward Joseph Mills                              By: Ross Rheingans-Yoo
             Title: Director                                      Title: Director
             Date: ____________________                           Date: ____________________




                                      [Signature Page to Services Agreement – June 2022]




                                                              6
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                                                             Exhibit A

                                        Statement of Work for a Third Party Designee


            1. The Services:

                1.1. Name of Latona Third Party Designee – [ENTER NAME]

                1.2. Description of Services – Design, management and performance of the following clinical trial
                     – [ADD DESCRIPTION OF CLINICAL TRIAL].

                1.3. Commencement Date – ____________, 2022.


            2. The Fees

                The fees attributable to this Latona Third Party Designee are [ENTER SUM].


                                                             *****
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        EXHIBIT 56
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From:                 Can Sun[can@ftx.com]
Sent:                 Sat 6/4/2022 9:55:21 PM (UTC)
To:                   Amir Sadeh[ASadeh@pearlcohen.com]
Cc:                   Oz Halabi[OHalabi@pearlcohen.com]; Zeev Pearl[ZPearl@pearlcohen.com]
Subject:              Re: PLS SAFE

Hi Amir please use the address below for Ross:

25 Veridian Corporate Center
Western Road
Nassau
The Bahamas

Thanks!

On Thu, Jun 2, 2022 at 12:47 PM Amir Sadeh <ASadeh@pearlcohen.com> wrote:


  Hi Can,



  Thanks for the prompt review and response below.



  To my understanding, the exhibit should be populated from time to time once the parties
  identify the relevant projects to be tackled as part of the $15M budget. Hence, the first exhibit
  will be prepared and attached to the agreement when the first “Third Party Designee” is
  identified and the respective project description (and associated budget) is discussed between
  the parties. Let me know if this is what you understood as well.

  If needed, I can tweak section 1.1 of the agreement to clarify that the exhibit is the template
  form to be used by the parties with respect to each such project (or remove it altogether from
  the agreement and the parties will populate the form prior to launching each such project.



  Separately, we are working on the corporate resolutions appointing Ross as a director of PLS.
  We will send them for review by tomorrow. Can you please provide us with Ross’ address to
  be used in the filing to be made with the British Columbia Corporate Registry?



  Best,

  Amir
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From: can@ftx.com <can@ftx.com>
Sent: Wednesday, June 1, 2022 6:56 PM
To: Amir Sadeh <ASadeh@PearlCohen.com>
Cc: Oz Halabi <OHalabi@PearlCohen.com>; Zeev Pearl <ZPearl@PearlCohen.com>
Subject: RE: PLS SAFE




                                 *****External Email *****


Actually I just reviewed it on the phone – looks good here. Think we just need to fill in the
exhibit and we’ll be good to go!



From: Amir Sadeh <ASadeh@PearlCohen.com>
Sent: Wednesday, June 1, 2022 6:44 PM
To: Can Sun <can@ftx.com>
Cc: Oz Halabi <OHalabi@PearlCohen.com>; Zeev Pearl <ZPearl@PearlCohen.com>
Subject: Re: PLS SAFE



Sounds challenging…

Thanks for the update, hope to hear back from you soon.



Amir




Sent from my iPhone

Please excuse any iTypos



       On Jun 1, 2022, at 18:05, Can Sun <can@ftx.com> wrote:
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                          *****External Email *****


Hey! Sorry been traveling all of last week and this week (been to 5 countries
since I got your email below ). Will try to look soon.



On Wed, Jun 1, 2022 at 3:50 PM Amir Sadeh <ASadeh@pearlcohen.com>
wrote:

Hi Can,



Hope all is well.

I wanted to follow up on the email below and check the status on your end (PLS
folks are breathing down our neck in this respect…)



Thanks!



Amir



From: can@ftx.com <can@ftx.com>
Sent: Thursday, May 26, 2022 11:10 PM
To: Amir Sadeh <ASadeh@PearlCohen.com>
Cc: Zeev Pearl <ZPearl@PearlCohen.com>; Oz Halabi
<OHalabi@PearlCohen.com>
Subject: RE: PLS SAFE




                         *****External Email *****


Thank you Amir! Appreciate your taking the first draft – this looks pretty
reasonable to me. Let me check in with Ross on a few items and I’ll get back to
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you soon.



From: Amir Sadeh <ASadeh@PearlCohen.com>
Sent: Thursday, May 26, 2022 11:03 PM
To: Can Sun <can@ftx.com>
Cc: Zeev Pearl <ZPearl@PearlCohen.com>; Oz Halabi
<OHalabi@PearlCohen.com>
Subject: RE: PLS SAFE



Hi Can,



Please find attached the proposed draft of the services agreement. We tried to
keep it as straight forward and simple as possible, while capturing the parties’
intent.



Please review and let us know if you have any comments or wish to discuss. I
am sending this email only to you, for now, so that we can exchange drafts
without clogging the principals’ inboxes.



Best,

Amir




From: can@ftx.com <can@ftx.com>
Sent: Thursday, May 26, 2022 3:46 AM
To: Amir Sadeh <ASadeh@PearlCohen.com>
Cc: 'Ed Mills' <emills@platformlifesciences.com>; 'Michael Zimmerman'
<mzimmerman@platformlifesciences.com>; Oz Halabi
<OHalabi@PearlCohen.com>; 'Ross Rheingans-Yoo'
<ross@ftxfoundation.com>; Zeev Pearl <ZPearl@PearlCohen.com>
Subject: RE: PLS SAFE
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                         *****External Email *****


Great thank you.



From: Amir Sadeh <ASadeh@PearlCohen.com>
Sent: Thursday, May 26, 2022 12:29 AM
To: can@ftx.com
Cc: Ed Mills <emills@platformlifesciences.com>; Michael Zimmerman
<mzimmerman@platformlifesciences.com>; Oz Halabi
<OHalabi@PearlCohen.com>; Ross Rheingans-Yoo
<ross@ftxfoundation.com>; Zeev Pearl <ZPearl@PearlCohen.com>
Subject: Re: PLS SAFE



Hi Can,



Hope all is well.



I wanted to provide a quick update - we have discussed this internally and
started working on the draft. We are aiming to send it over tomorrow.



Best,

Amir



Sent from my iPhone

Please excuse any iTypos



        On May 24, 2022, at 13:00, can@ftx.com wrote:




                         *****External Email *****
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   Hey Amir and PC team – hope you’re doing well! Shall we also
   paper the additional $15M too? We can do it as a services
   arrangement with $15M cash advance (prepayment) but not tied to
   it – feel free to propose anything that might work better for you for
   taxes, optics etc.



   Best,

   Can




   From: Amir Sadeh <ASadeh@PearlCohen.com>
   Sent: Saturday, April 30, 2022 8:31 PM
   To: Can Sun <can@ftx.com>
   Cc: Ed Mills <emills@platformlifesciences.com>; Michael
   Zimmerman <mzimmerman@platformlifesciences.com>; Oz
   Halabi <OHalabi@PearlCohen.com>; Ross Rheingans-Yoo
   <ross@ftxfoundation.com>; Zeev Pearl
   <ZPearl@PearlCohen.com>
   Subject: RE: FW: PLS SAFE



   Hi Can,



   Thank you for the prompt review and response. Great news.



   I understand that the parties have agreed that Latona Bioscience
   Group will be the entity making the investment on your end. We
   will update the SAFE accordingly and send it out for execution via
   Docusign. Otherwise, we are good to go here.



   Best,

   Amir
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   From: Can Sun <can@ftx.com>
   Sent: Friday, April 29, 2022 11:44 PM
   To: Amir Sadeh <ASadeh@PearlCohen.com>
   Cc: Ed Mills <emills@platformlifesciences.com>; Michael
   Zimmerman <mzimmerman@platformlifesciences.com>; Oz
   Halabi <OHalabi@PearlCohen.com>; Ross Rheingans-Yoo
   <ross@ftxfoundation.com>; Zeev Pearl
   <ZPearl@PearlCohen.com>
   Subject: Re: FW: PLS SAFE




                     *****External Email *****


   Thanks Amir. This looks good - we’re good to go! I believe there
   was also some discussion about whether to use PLS or Latona.
   We’re good either ways - just let us know what you prefer.



   On Fri, Apr 29, 2022 at 7:23 PM Amir Sadeh
   <ASadeh@pearlcohen.com> wrote:

    Hi Can,



    Thank you for your time earlier this afternoon.



    Please find attached an updated version of the SAFE (clean and
    marked against yesterday’s draft). Please review and let us know if
    you have any further comments.



    Best,

    Amir
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    From: Can Sun <can@ftx.com>
    Sent: Thursday, April 28, 2022 9:36 PM
    To: Zeev Pearl ZPearl@PearlCohen.com
    Cc: Amir Sadeh ASadeh@PearlCohen.com; Ed Mills
    emills@platformlifesciences.com; Michael Zimmerman
    <mzimmerman@platformlifesciences.com>; Oz Halabi
    <OHalabi@PearlCohen.com>; Ross Rheingans-Yoo
    <ross@ftxfoundation.com>
    Subject: Re: FW: PLS SAFE




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    Yup sounds good - how about 4pm or 430pm ET?



    On Thu, Apr 28, 2022 at 9:22 PM Zeev Pearl
    <ZPearl@pearlcohen.com> wrote:

    Hi Can,



    Confirmed with our team.



    Can you, Amir and I hop on a call tomorrow to move things
    along following the understanding of the biz folks.



    Thank you,

    Zeev



    From: Can Sun <can@ftx.com>
    Date: Thursday, April 28, 2022 at 8:45 PM
    To: Amir Sadeh <ASadeh@PearlCohen.com>
    Cc: Oz Halabi <OHalabi@PearlCohen.com>, Ross Rheingans-
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    Yoo <ross@ftxfoundation.com>, Zeev Pearl
    <ZPearl@PearlCohen.com>
    Subject: Re: FW: PLS SAFE


                   *****External Email *****


    Hi team,



    Just got another update - I heard that the valuation should be
    $65M pre, $100M post money. Could you help confirm with your
    client?



    Thank you!



    Can



    On Thu, Apr 28, 2022 at 2:52 PM <can@ftx.com> wrote:

     Hi Amir,



     Thanks for sending this over. Just one minor tweak in the
     attached. Also discussed with Ross on the Safe Price. A couple
     of thoughts:



          • On the Safe Price – we appreciate the tiered approach
          but also think this is being over-complicated. Can we just
          make it simple by defining the Safe price as the next round
          price subject to a $85M cap (INCLUSIVE of this Safe)?
          We understand that the agreed to economics is $50M pre-
          money, so it should be $85M pre-money in the next round
          inclusive of this Safe. Mathematically this would actually
          be better for the company until the next roudn valuation
          goes >$106.25M.
          • Can we also add a simple MFN provision for other
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             convertible securities issued prior to the next round?
             (again, the YCombinator formulation is totally fine with
             us)
             • Can we add a simple board observer right into the SAFE
             as well?
             • We understand that Platform would also like an
             additional $15M cash advance for future trials. Any
             thoughts on how best to structure this? We’re thinking of a
             simple loan with 2 year maturity and negligible interest
             (whatever the minimum AFR required by the CRA) but
             open to other thoughts as well.




     Look forward to your thoughts – thank you.



     Best,

     Can




     From: Amir Sadeh <ASadeh@PearlCohen.com>
     Sent: Thursday, April 28, 2022 1:41 PM
     To: can@ftx.com
     Cc: Oz Halabi <OHalabi@PearlCohen.com>; Zeev Pearl
     <ZPearl@PearlCohen.com>
     Subject: RE: FW: PLS SAFE



     Hi Can,



     Please find attached an updated version of the SAFE (redline +
     clean), further to internal discussion with our client.

     As you will note, it seems that we are aligned on the economics,
     in the sense that the $85M is the baseline “Floor Valuation” of
     the next round, while FTX gets downside protection if the next
     round’s valuation is lower than that.
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     Please review and let us know if you have any further
     comments.



     On another note – I understand that the principals also agreed
     that FTX will have the right to appoint a director. Please let us
     know who will serve as the director on your behalf so that we
     can incorporate this item into the corporate consents approving
     the financing.



     Best,

     Amir




     From: can@ftx.com <can@ftx.com>
     Sent: Wednesday, April 27, 2022 10:28 PM
     To: Amir Sadeh <ASadeh@PearlCohen.com>
     Cc: Oz Halabi <OHalabi@PearlCohen.com>; Zeev Pearl
     <ZPearl@PearlCohen.com>
     Subject: RE: FW: PLS SAFE




                   *****External Email *****


     Thanks Amir! Sounds good on both points below. I think we
     might need a call cos our biz team is telling me that the
     understanding was $35M investment at a $50M pre-money
     valuation.



     Is there a good time say on Friday?



     From: Amir Sadeh <ASadeh@PearlCohen.com>
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     Sent: Wednesday, April 27, 2022 8:37 PM
     To: Can Sun <can@ftx.com>
     Cc: Oz Halabi <OHalabi@PearlCohen.com>; Zeev Pearl
     <ZPearl@PearlCohen.com>
     Subject: RE: FW: PLS SAFE



     Hi Can,



     Pleasure to e-meet you.



     I wanted to follow up and respond to the other 2 comments
     included in the draft you sent earlier, as follows:

             • Section 1(a) – indeed, should be “Safe Shares”. Thanks
             for noticing.
             • “Company Capitalization” definition – we have seen
             both alternatives being used just as frequent (as far as it
             relates to the pool increase in the context of the next
             round), thus opted to keep it aligned with the generic YC-
             Safe.




     In any event, I understand that we are waiting to hear back from
     you once you have had a chance to discuss the economics
     internally.



     Best,

     Amir




     From: Zeev Pearl <ZPearl@PearlCohen.com>
     Sent: Wednesday, April 27, 2022 1:36 PM
     To: Can Sun <can@ftx.com>
     Cc: Amir Sadeh <ASadeh@PearlCohen.com>; Oz Halabi
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     <OHalabi@PearlCohen.com>
     Subject: Re: FW: PLS SAFE



     THX a lot

     Zeev




     From: Can Sun <can@ftx.com>
     Date: Wednesday, April 27, 2022 at 1:23 PM
     To: Zeev Pearl <ZPearl@PearlCohen.com>
     Cc: Amir Sadeh <ASadeh@PearlCohen.com>, Oz Halabi
     <OHalabi@PearlCohen.com>
     Subject: Re: FW: PLS SAFE


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     Gotcha not at all. I’m just out of the loop. Let me catch up with
     Ross and we’ll come back to you!



     On Wed, Apr 27, 2022 at 1:05 PM Zeev Pearl
     <ZPearl@pearlcohen.com> wrote:

      Can,



      Thx a lot for your prompt response in particular in such a hectic
      time. Goodluck with Crypto Bahamas.



      We have tried to reflect what we understand is the biz
      understanding protecting FTX if the next round is under
      $100M, keeping the valuation at $100M as discussed within the
      20% discount stripe and providing FTX a discount of 20% if
      the next round is at a higher valuation.
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      Would you prefer a different mechanism?



      I have copied my partner Amir who gets full credit for the docs,
      also Oz our tax partner.



      Best,

      Zeev




      From: can@ftx.com <can@ftx.com>
      Date: Wednesday, April 27, 2022 at 1:00 PM
      To: Zeev Pearl <ZPearl@PearlCohen.com>
      Subject: RE: PLS SAFE


                   *****External Email *****


      Hey Zeev!



      Thanks so much for this. We actually just kicked off Crypto
      Bahamas () https://www.cryptobahamas.com/agendatoday and
      things are pretty hectic -- not sure if I can sort out my calendar
      in the next day or two.



      But in the meantime, I’ve reviewed the SAFE and it looks
      pretty clean. Just a few minor tweaks attached. And I apologize
      for sending to you in this format – I’m running around between
      meetings today at the conference.



      The only item that I think we need to discuss is the conversion
      price. I’ve not heard about the <$100M, $100-125M, and
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      >$125M mechanics before this. Do you know if that has been
      discussed with the principals?



      Best,

      Can




      From: Zeev Pearl <ZPearl@PearlCohen.com>
      Sent: Wednesday, April 27, 2022 12:16 PM
      To: Can Sun <can@ftx.com>
      Subject: PLS SAFE



      Hi Can,
      Enclosed is the proposed SAFE, a marked-up version against the
      Y-combinator format and a clean one are enclosed.
      Can we have a short call to align and then get the teams on both
      ends involved?
      Best,
      Zeev




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attachments unless you confirm the sender and know the content is safe.
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        EXHIBIT 58
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From:                  Michael Zimmerman[mzimmerman@platformlifesciences.com]
Sent:                  Sun 5/15/2022 1:13:05 AM (UTC)
To:                    Ross Rheingans-Yoo[ross@ftxfoundation.com];
                       josephine@ftx.com[josephine@ftx.com]
Cc:                    Ross Rheingans-Yoo[ross@ftxfoundation.com]; Ed
                       Mills[emills@platformlifesciences.com]
Subject:               Re: Checking-in
Attachment:            FTX Foundaton_01_30Jan2022[40].docx

 Hi Josephine – Please see attached all the wiring information in a template that we used before.

 Ross – We set a meeting for 1:00pm on Monday with your Calendly (confirmed). For some reason I
 did not get invite yet.

 Thanks




 From: Ross Rheingans-Yoo <ross@ftxfoundation.com>
 Date: Friday, May 13, 2022 at 2:19 PM
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To: Michael Zimmerman <mzimmerman@platformlifesciences.com>
Cc: Ross Rheingans-Yoo <ross@ftxfoundation.com>, Ed Mills
<emills@platformlifesciences.com>, josephine@ftx.com <josephine@ftx.com>
Subject: Re: Checking-in

Hi Michael,

Feel free to grab a time on https://calendly.com/rossry whenever works for you.

In terms of signing timeline, the thing holding us up is confirmation of the new nonprofit entity into
the national companies register. Our counsel has been calling them every day this week; if we still
have no reply by close of play today, I'll ask our external counsel if there's anything we can do to
expedite.

When the registration is confirmed, we can have the docs signed that same day.

Looking ahead to the steps after, we'll need wire info from you to send the funds without further
delay. I've cc'd Josephine on our end, who should be able to arrange so that we're ready to send as
soon as the docs are papered.

Best,
Ross

On Thu, May 12, 2022, 17:17 Michael Zimmerman <mzimmerman@platformlifesciences.com> wrote:
 Hey Ross – I hope all is well, and you have completed your travels successfully. A lot of momentum
 on PLS side. We would like to touch base with you and get a sense for the funding timeline. Can we
 set a call for 30min?

 Thank you
 Michael Z
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 Platform LifeSciences Inc.
 4245 Nautilus Close
                                                                                            INVOICE
 Vancouver, British Columbia, Canada
 emills@platformlifesciences.com
 778-317-8530                                                                                    INVOICE # 01
                                                                                               DATE: 30JAN221

 TO:
 FTX Trading Inc.
 Attention: Ross Rheingans-Yoo
 ross@ftxfondation.com
 CC: Josephine Chan
 Josephine@ftx.com

                                                                                     UNIT
    QUANTITY                              DESCRIPTION                                            TOTAL USD
                                                                                    PRICE



                                                                                   TOTAL DUE




                                Wire Instructions for Platform LifeSciences Inc.

Bank Name: Canadian Imperial Bank of Commerce (CIBC)
Bank Address: 400 Burrard St., Vancouver, BC., V6C 3A6, Canada
Name on Account Platform LifeSciences Inc.
Bank Account # USD #0214116
Bank Routing Code: transit 00010 / institution 0010
SWIFT Code: CIBCCATT
Bank US Correspondent: Wells Fargo Bank, N.A. 375 Park Avenue, New York, NY. Swift PNBPUS3NNYC, ABA #026
005 092
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            E A RE
       ALAMEDA  RESEARCH H LTD
        P RA
       OPERATINGG                                                                                Page         1 of 2
       TORTOLA PIER P   RK B
                     PARK,  BLDG. I S          R
                                    SECOND FLOOR
       W
       WICKHAM
            H   CAY II. ROAD
                C          A TOWN
                               O       RT L
                                    TORTOLA
                                    T  R
                                                                                     Account Number:     ******4464
       BRI
        RI S VIRGIN
       BRITISH  I RG N ISLAN
                         L
                                                                                     Date                   04/29/22




                                T     NT S
                               STATEMENT SUMMARY AS OF                    0 /    2
                                                                          04/29/22
          Account Name                          Account Number       Interest Paid                      Balance
                                                                           In 2021
          ACCOUNT ANALYSIS STANDARD                 XXXXXX4464

 ALAMEDA RESEARCH LLTD                             O N ANALYSIS S
                                                ACCOUNT         STANDARD               C
                                                                                     ACCT                * * 4
                                                                                                        ******4464

                               Summary of Activity Since Your Last Statement


                   Beginning Balance
                   Deposits / Misc Credits
                   Withdrawals / Misc Debits
                ** Ending Balance
                   Service Charge



   o
Deposits and Otherr Credits
                     r
Date         Amount      Activity Description




   its an
Debits and Other Withdrawals

Date        Amount       Activity Description
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            E A RE
       ALAMEDA  RESEARCH H LTD
        P RA
       OPERATINGG                                                                              Page        2 of 2
       TORTOLA PIER P   RK B
                     PARK,  BLDG. I S          R
                                    SECOND FLOOR
       W
       WICKHAM
            H   CAY II. ROAD
                C          A TOWN
                               O       RT L
                                    TORTOLA
                                    T  R
                                                                                   Account Number:    ******4464
       BRI
        RI S VIRGIN
       BRITISH  I RG N ISLAN
                         L
                                                                                   Date                  04/29/22




   its an
Debits and Other Withdrawals

Date        Amount          Activity Description




                m   y
Daily Balance Summary

Date              Balance                Date                Balance        Date                Balance
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        EXHIBIT 62
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From:                     Michael Zimmerman[mzimmerman@platformlifesciences.com]
Sent:                     Sat 6/18/2022 2:43:23 AM (UTC)
To:                       josephine@ftx.com[josephine@ftx.com]
Subject:                  Re: Thank you!
Attachment:               FTX Foundaton_01_30Jan2022[5].docx

 Sure, thank you so much.
 See below

 Bank Name: Canadian Imperial Bank of Commerce (CIBC)
 Bank Address: 400 Burrard St., Vancouver, BC., V6C 3A6, Canada
 Name on Account Platform LifeSciences Inc.
 Bank Account # USD #0214116
 Bank Routing Code: transit 00010 / institution 0010
 SWIFT Code: CIBCCATT
 Bank US Correspondent: Wells Fargo Bank, N.A. 375 Park Avenue, New York, NY. Swift PNBPUS3NNYC, ABA #026 005 092



 From: Josephine Chan <josephine@ftx.com>
 Date: Friday, June 17, 2022 at 7:40 PM
 To: Michael Zimmerman <mzimmerman@platformlifesciences.com>
 Subject: Re: Thank you!

 Hi Michael,

 Terribly sorry for the delay. Could you kindly share the wire details once again so that we can
 process the payment on the next business day?

 Thanks!

 Josephine

 —
 Josephine Chan



        On June 18, 2022, 10:38 AM GMT+8 mzimmerman@platformlifesciences.com wrote:

        Hey Josephine – Trying to follow-up on the below, and making sure this email is at the
        top of your inbox.
        Please let me know if there is anyway we can push this forward.
        Many thanks


        From: Michael Zimmerman <mzimmerman@platformlifesciences.com>
        Date: Monday, June 13, 2022 at 4:01 PM
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To: josephine@ftx.com <josephine@ftx.com>
Subject: Re: Thank you!

Hey Josephine – I hope all is well.
We signed a week ago a service agreement with FTX Foundation (attached) for
$15,000,000
I believe the next step is to wire the funds to Platform Life Sciences bank account (same
wiring information you have).
Let me know if this is your understanding as well, and if so when we should expect the
funds.

Thanks




From: Josephine Chan <josephine@ftx.com>
Date: Sunday, May 29, 2022 at 6:48 PM
To: Michael Zimmerman <mzimmerman@platformlifesciences.com>
Subject: Re: Thank you!

Great to know!
Wish you a great week ahead!

—
Josephine Chan




      On May 28, 2022, 8:47 AM GMT+8
      mzimmerman@platformlifesciences.com wrote:

      The funds did posted on our account, nice and fast work!

      Thanks Josephine
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 Platform LifeSciences Inc.
 4245 Nautilus Close
                                                                                            INVOICE
 Vancouver, British Columbia, Canada
 emills@platformlifesciences.com
 778-317-8530                                                                                    INVOICE # 01
                                                                                               DATE: 30JAN221

 TO:
 FTX Trading Inc.
 Attention: Ross Rheingans-Yoo
 ross@ftxfondation.com
 CC: Josephine Chan
 Josephine@ftx.com

                                                                                     UNIT
    QUANTITY                              DESCRIPTION                                            TOTAL USD
                                                                                    PRICE



                                                                                   TOTAL DUE




                                Wire Instructions for Platform LifeSciences Inc.

Bank Name: Canadian Imperial Bank of Commerce (CIBC)
Bank Address: 400 Burrard St., Vancouver, BC., V6C 3A6, Canada
Name on Account Platform LifeSciences Inc.
Bank Account # USD #0214116
Bank Routing Code: transit 00010 / institution 0010
SWIFT Code: CIBCCATT
Bank US Correspondent: Wells Fargo Bank, N.A. 375 Park Avenue, New York, NY. Swift PNBPUS3NNYC, ABA #026
005 092
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From:                 Mills, Edward[millsej@mcmaster.ca]
Sent:                 Mon 1/31/2022 3:36:54 AM (UTC)
To:                   josephine@ftx.com[josephine@ftx.com]
Cc:                   Ross Rheingans-Yoo[ross@ftxfoundation.com]; Nick
                      Beckstead[nbeckstead@ftx.com]; Sam Bankman-Fried[sam@ftx.com]
Subject:              Re: Philanthropic gift to Platform Life Sciences
Attachment:           FTX Invoice_01_30Jan2022.pdf

Dear Josephine
 Thank you so much for your email. We are all very excited about working with you.
 Please find attached the invoice.
 Please do not hesitate to reach out for any clarifications.
Thank you again to FTX. This is the start of something radically different.
 Ed




        On Jan 30, 2022, at 6:21 PM, Josephine Chan <josephine@ftx.com> wrote:

        Hi Ed,

        Excited to be working together :)
        For the funding, please kindly send us an invoice addressed to FTX Trading Ltd,
        with your wire details. We will process it as soon as possible.

        Thanks and best regards,
        Josephine

        —
        Josephine Chan


              On January 29, 2022, 8:34 AM GMT+8 millsej@mcmaster.ca wrote:

              Dear Ross, Nick, Josephine and Sam
               Thanks you so much for this delightful news! I am really indebted
              to FTX and I know we will do great things together.
               We made some great progress today with setting up an East African
              hub also.
               I will connect with Conville and get a site going quickly in
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 Bahamas. My staff are excited to also visit the Bahamas.
  This is exciting. We have a lot to accomplish and I appreciate your
 faith in us.
  Best wishes
  Ed




       On Jan 28, 2022, at 4:04 PM, Ross Rheingans-Yoo
       <ross@ftxfoundation.com> wrote:

       Hi Ed,

       I'm glad to share that we've approved a philanthropic gift
       for $3,250,000 to Platform Life Sciences (or the
       appropriate entity to advance the Together Network
       initiative) from the FTX Foundation, as part of our
       collective efforts towards a world with accelerated
       clinical science, medical R&D, and rapid pandemic
       response. The increase from the $3mln budget you
       submitted is intended to support the onboarding of 1-2
       trial sites in the Bahamas.

       We're also thrilled to be hosting you and your team in
       March! We anticipate that at that point it will make sense
       to discuss how to structure this venture together, so it's
       set up with the ongoing flow of funding (and all the other
       support) it'll need to grow.

       For funding logistics, I've cc'd Josephine Chan
       <josephine@ftx.com>, who should be able to assist.

       I'm sure we'll be in touch. Let us know when you have
       opportunities for public announcements, as we'll want to
       coordinate on our end.

       Ross
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 Platform LifeSciences Inc.
 4245 Nautilus Close                                                                             INVOICE
 Vancouver, British Columbia, Canada
 emills@platformlifesciences.com
 778-317-8530                                                                                      INVOICE # 01
                                                                                                 DATE: 30JAN221

 TO:
 FTX Trading Inc.
 Attention: Josephine Chan
 Josephine@ftx.com
 CC: RossRheingans-Yoo
 ross@ftxfondation.com

    QUANTITY                                DESCRIPTION                             UNIT PRICE     TOTAL USD

         1            Philanthropic gift to Platform Life Sciences                  $3,250,000       $3,250,000



                                                                                    TOTAL DUE        $3,250,000




                                 Wire Instructions for Platform LifeSciences Inc.

Bank Name: Canadian Imperial Bank of Commerce (CIBC)
Bank Address: 400 Burrard St., Vancouver, BC., V6C 3A6 , Canada
Name on Account Platform LifeSciences Inc.
Bank Account # USD #0214116
Bank Routing Code: transit 00010 / institution 0010
SWIFT Code: CIBCCATT
Bank US Correspondent: Wells Fargo Bank, N.A. 375 Park Avenue, New York, NY. Swift PNBPUS3NNYC, ABA #026
005 092
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From:                Ed Mills[emills@platformlifesciences.com]
Sent:                Thur 2/3/2022 6:04:07 PM (UTC)
To:                  Josephine Chan[josephine@ftx.com]
Subject:             Transfer
Attachment:          FTX Invoice_01_30Jan2022.pdf

Hi Josephine
 I hope you are well.
Would you mind letting me know when the wire transfer is made for the invoice?
Sometimes these get stuck in the US/Can banking system and don’t arrive until we inquire.
 Many thanks
 Ed
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 Platform LifeSciences Inc.
 4245 Nautilus Close                                                                             INVOICE
 Vancouver, British Columbia, Canada
 emills@platformlifesciences.com
 778-317-8530                                                                                      INVOICE # 01
                                                                                                 DATE: 30JAN221

 TO:
 FTX Trading Inc.
 Attention: Josephine Chan
 Josephine@ftx.com
 CC: RossRheingans-Yoo
 ross@ftxfondation.com

    QUANTITY                                DESCRIPTION                             UNIT PRICE     TOTAL USD

         1            Philanthropic gift to Platform Life Sciences                  $3,250,000       $3,250,000



                                                                                    TOTAL DUE        $3,250,000




                                 Wire Instructions for Platform LifeSciences Inc.

Bank Name: Canadian Imperial Bank of Commerce (CIBC)
Bank Address: 400 Burrard St., Vancouver, BC., V6C 3A6 , Canada
Name on Account Platform LifeSciences Inc.
Bank Account # USD #0214116
Bank Routing Code: transit 00010 / institution 0010
SWIFT Code: CIBCCATT
Bank US Correspondent: Wells Fargo Bank, N.A. 375 Park Avenue, New York, NY. Swift PNBPUS3NNYC, ABA #026
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                                                                    To   February 28, 2022
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                                                                    PRIVATE CLIENT GROUP 159
                                                                    485 MADISON AVENUE
                                                                    NEW YORK, NY 10022



       FTX TRADING LIMITED                     4-159
       FRIAR'S HILL ROAD, MANDOLIN PL
       SAINT JOHN'S
       ANTIGUA AND BARDUDA AG-04
                                                              See Back for Important Information


                                                           Primary Account:       9018         0

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                                                                    485 MADISON AVENUE
                                                                    NEW YORK, NY 10022



       FTX TRADING LIMITED                     4-159
       FRIAR'S HILL ROAD, MANDOLIN PL
       SAINT JOHN'S
       ANTIGUA AND BARDUDA AG-04
                                                              See Back for Important Information


                                                           Primary Account:       9018         0

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                                                                           485 MADISON AVENUE
                                                                           NEW YORK, NY 10022



            FTX TRADING LIMITED                       4-159
            FRIAR'S HILL ROAD, MANDOLIN PL
            SAINT JOHN'S
            ANTIGUA AND BARDUDA AG-04
                                                                     See Back for Important Information


                                                                  Primary Account:      49018         0


Withdrawals and Other Debits




Feb 04   OUTGOING WIRE                                                                      3,250,000.00
         REF# 20220204B6B7261F001068
         BANK: CANADIAN IMPERIAL BANK OF COMMER   ACCT# 0214116
         OBI: Invoice 01 - Philanthropic Gift
         OBI:
         OBI:
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                                                                    485 MADISON AVENUE
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       FTX TRADING LIMITED                     4-159
       FRIAR'S HILL ROAD, MANDOLIN PL
       SAINT JOHN'S
       ANTIGUA AND BARDUDA AG-04
                                                              See Back for Important Information


                                                           Primary Account:       9018         0

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       FRIAR'S HILL ROAD, MANDOLIN PL
       SAINT JOHN'S
       ANTIGUA AND BARDUDA AG-04
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                                                           Primary Account:       9018         0

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       FTX TRADING LIMITED                     4-159
       FRIAR'S HILL ROAD, MANDOLIN PL
       SAINT JOHN'S
       ANTIGUA AND BARDUDA AG-04
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                                                           Primary Account:       9018         0

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                                                                    NEW YORK, NY 10022



       FTX TRADING LIMITED                     4-159
       FRIAR'S HILL ROAD, MANDOLIN PL
       SAINT JOHN'S
       ANTIGUA AND BARDUDA AG-04
                                                              See Back for Important Information


                                                           Primary Account:       9018         0

Date           Description
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                                                                    485 MADISON AVENUE
                                                                    NEW YORK, NY 10022



       FTX TRADING LIMITED                     4-159
       FRIAR'S HILL ROAD, MANDOLIN PL
       SAINT JOHN'S
       ANTIGUA AND BARDUDA AG-04
                                                              See Back for Important Information


                                                           Primary Account:       9018         0

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                                                                       Statement Period
                                                                    From February 01, 2022
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                                                                    485 MADISON AVENUE
                                                                    NEW YORK, NY 10022



       FTX TRADING LIMITED                     4-159
       FRIAR'S HILL ROAD, MANDOLIN PL
       SAINT JOHN'S
       ANTIGUA AND BARDUDA AG-04
                                                              See Back for Important Information


                                                           Primary Account:       9018         0

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                                                                    NEW YORK, NY 10022



       FTX TRADING LIMITED                     4-159
       FRIAR'S HILL ROAD, MANDOLIN PL
       SAINT JOHN'S
       ANTIGUA AND BARDUDA AG-04
                                                              See Back for Important Information


                                                           Primary Account:       9018         0

Date           Description
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                                                                    485 MADISON AVENUE
                                                                    NEW YORK, NY 10022



       FTX TRADING LIMITED                     4-159
       FRIAR'S HILL ROAD, MANDOLIN PL
       SAINT JOHN'S
       ANTIGUA AND BARDUDA AG-04
                                                              See Back for Important Information


                                                           Primary Account:       9018         0

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                                                                          485 MADISON AVENUE
                                                                          NEW YORK, NY 10022



             FTX TRADING LIMITED                     4-159
             FRIAR'S HILL ROAD, MANDOLIN PL
             SAINT JOHN'S
             ANTIGUA AND BARDUDA AG-04
                                                                    See Back for Important Information


                                                                 Primary Account:       9018         0


Daily Balances
